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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION


 UNITED STATES OF AMERICA                                                  PLAINTIFF


 VS.                          CRIMINAL CASE NO. 4:13CR40021-001


 LAQUAN DARELL HAYNES                                                      DEFENDANT


                                             ORDER

        Before the Court is a Notice of Appeal and a Request for Review filed by Ms. Teresa

 Bloodman. ECF Nos. 89 and 98. In the filings, Ms. Bloodman asks the Court to review the

 decision of United States Magistrate Judge Barry A. Bryant and reverse and/or modify his

 previous Orders imposing sanctions against her in the form of costs of $250.00.

                                        BACKGROUND

        On August 27, 2013, Ms. Teresa Bloodman became Defendant Laquan D. Haynes’s

 attorney of record in the above styled and numbered criminal case. On January 28, 2014, Ms.

 Bloodman filed a Motion to Withdraw as counsel. The motion was referred to Magistrate Judge

 Barry Bryant pursuant to 28 U.S.C. 636(b)(1)(A).

        On January 31, 2014, Judge Bryant held a hearing on the motion. At the hearing, Ms.

 Bloodman stated that if she was allowed to withdraw as Defendant’s counsel she would return all

 discovery materials to the United States Attorney’s Office. Judge Bryant granted the Motion to

 Withdraw and orally directed Ms. Bloodman to return all discovery materials to the Government.

 Judge Bryant then informed the parties that a written order would be entered that afternoon and

 he directed Ms. Bloodman to return all discovery materials to the Government as soon as
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 possible after the order was entered. Later that day, Judge Bryant entered an Order stating “Ms.

 Bloodman is directed to turn over to the United States Attorney’s Office any and all discovery

 material previously provided her by the Government.” ECF No. 49. A copy of this Order was

 electronically delivered to Ms. Bloodman via the Court’s CM/ECF system.

        Twenty days elapsed without Ms. Bloodman returning the discovery materials to the

 United States Attorney’s Office as ordered by the Court. On February 20, 2014, Judge Bryant

 entered a second Order directing Ms. Bloodman to return all discovery materials no later than

 12:00 p.m. February 27, 2014. ECF No. 51. In the Order, Ms. Bloodman was advised that

 failure to comply with the Order could result in a Show Cause Order being entered and sanctions

 being imposed against her. Because Ms. Bloodman had been removed from the CM/ECF system

 as Mr. Haynes’s attorney, the clerk’s office physically mailed a copy of Judge Bryant’s Order to

 Ms. Bloodman at her address on record with the Court.

        Ten more days elapsed without Ms. Bloodman returning the discovery materials in

 question. On March 3, 2014, Judge Bryant issued a Show Cause Order directing Ms. Bloodman

 to appear in Court on March 7, 2014 to show cause why sanctions should not be imposed for her

 failure to comply with the Court’s February 20, 2014 Order. ECF No. 53. The Order, along with

 a copy of the February 20, 2014 Order, were emailed to Ms. Bloodman at her email address on

 record with the Court.

        On March 4, 2014, Ms. Bloodman responded to the Court’s Show Cause Order. ECF No.

 54. In her response, Ms. Bloodman stated that she was unaware of her obligation to return the

 discovery materials in question until March 3, 2014. She stated that if she had known of the

 obligation to return the discovery materials, she would have done so promptly as contemplated


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 by the Court’s Order. Ms. Bloodman then informed the Court that she was mailing the discovery

 in question to the United States Attorney’s Office, via priority overnight mail and requested that

 the Show Cause Order be recalled by the Court. This request was denied by Judge Bryant on

 March 5, 2014. ECF No. 55. A copy of the Order was emailed to Ms. Bloodman at her email

 address on record with the Court.

        Due to inclement weather, the discovery materials arrived at the United States Attorney’s

 Office on March 6, 2014. On that same day, Ms Bloodman filed a Motion to Reconsider asking

 the Court to reconsider its Show Cause Order. ECF No. 63. She again stated that until May 3,

 2014, she was unaware of any Court Order directing her to return the discovery material nor was

 she aware of a specific date for its return. The Court denied the Motion to Reconsider in regard to

 its Show Cause Order but rescheduled the hearing to allow Ms. Bloodman time to retain counsel

 if she so desired. ECF No. 65. A copy of this Order was emailed to Ms. Bloodman at her email

 address on record with the Court.

        On March 17, 2014, Ms. Bloodman appeared before Judge Bryant for a hearing on the

 Court’s Show Cause Order. At the hearing, Ms. Bloodman admitted to the Court that on January

 31, 2014, the day she was allowed to withdraw as Mr. Haynes’s counsel, she was aware of her

 obligation to return the discovery materials to the government as soon as possible. She then

 explained that she did not return the material as soon as possible because she had various health

 issues after the January 31 hearing. Ms. Bloodman stated that she never received the Court’s

 February 20 Order even though the Clerk mailed her a copy of the Order at her address on record

 with the Court. She also apologized to the Court for not returning the material until after the

 Court’s Show Cause Order.


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        On March 18, 2014, after considering Ms Bloodman’s statements, Judge Bryant found

 that her failure to comply with the Court’s Order was not done in bad faith but rather was the

 result of negligence and inattentiveness. He also found that as a result of her actions and

 inactions, the government had to expend attorney time unnecessarily in attending to this

 discovery matter. Ms. Bloodman was then ordered to pay costs to the Department of Justice in

 the amount of $250.00, which is the equivalent of 2 hours of attorney time at the CJA rate of

 $125.00 per hour. Ms. Bloodman was ordered to make this payment on or before 5:00 p.m.

 March 31, 2014. ECF No. 80. A copy of Judge Bryant’s Order was emailed to Ms. Bloodman at

 her email address on record with the Court.

        On March 28, 2014, Ms. Bloodman filed a Motion to Reconsider in which she asked the

 Court to reconsider and dismiss its March 18 Order. ECF No. 83. In support of this motion, Ms.

 Bloodman argued, inter alia, that she should not be sanctioned because she did not receive any of

 the Court’s written Orders directing her to return the discovery materials to the United States

 Attorney’s Office and, thus, did not know of her obligation to do so until March 3, 2014. On

 March 31, 2014, Ms. Bloodman filed Objections to the March 18, 2014 Order. 1 ECF No. 88.

        On April 3, 2014, Judge Bryant denied the Motion to Reconsider and overruled the

 Objections to the March 18 Order. He also reminded Ms. Bloodman of her obligation to pay the

 $250.00 in costs to the United States Attorney’s Office as previously ordered by the Court. ECF

 No. 91. A copy of this Order was electronically delivered to Ms. Bloodman via the Court’s

 CM/ECF system.


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         On March 31, 2014, Ms. Bloodman also filed the Notice of Appeal of the Magistrate
 Judge’s Decision to District Court and Request for Review by District Judge from Order entered
 by Magistrate on March 18, 2014 (ECF No. 89) now pending before the Court.

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        On April 30, 2014, Ms. Bloodman filed a Request for Review by the District Judge of

 Judge Bryant’s April 3, 2014 Order. ECF No. 98. In this request, Ms. Bloodman informed the

 Court that the sanctions of $250.00 ordered by Judge Bryant had been paid to the United States

 Attorney’s Office.

        On May 5, 2014, Ms. Bloodman filed a Notice of Appeal to the Eight Circuit Court of

 Appeals requesting review of Judge Bryant’s April 3, 2014 Order. On May 15, 2014, the appeal

 was dismissed for lack of jurisdiction. The matter was returned to this Court on June 5, 2014.

 ECF. 106.

                                            DISCUSSION

        Now pending before the Court is Ms. Bloodman’s Appeal of Magistrate Judge’s March

 18, 2014 Order (ECF No. 89) and Request for Review of Magistrate Judge’s April 3, 2014 Order

 (ECF No. 98). In order to review these orders, the Court will review the audio recording of the

 January 31, 2014 and the March 17, 2014 hearings, along with all orders and documents filed

 with the Court. The Court will review Judge Bryant’s orders under an abuse of discretion

 standard. In doing so, the Court will give substantial deference to Judge Bryant’s ultimate

 decision because of his familiarity with the case, parties, and counsel.

        A court has the inherent power to control any litigation before it and to preserve the

 integrity of the judicial process. In order to perform these tasks the Court has the power to

 impose sanctions on both litigants and counsel as it deems necessary. In this case, Ms.

 Bloodman did not comply with the Court’s order in a timely manner. She was ordered to return

 all discovery material to the United States Attorney’s Office as soon as possible. Ms. Bloodman

 did not do so until after the Court entered another order directing her to return all discovery and


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 entered an order directing her to appear in Court to show cause why sanctions should not be

 imposed for her failure to comply with the Court’s orders. As a result of the delay, Judge Bryant

 determined that the government had to expend two hours of attorney time in attending to this

 discovery matter. He then imposed sanctions against Ms. Bloodman in the amount of $250.00.

 The Court does not find this to be an abuse of Judge Bryant’s inherent power to control the

 litigation before him and to preserve the integrity of the Court. Accordingly, the sanctions

 against Ms. Teresa Bloodman in Judge Bryant’s March 18, 2014 and his April 3, 2014 Orders are

 upheld.

           IT IS SO ORDERED, this 15th day of July, 2014.



                                                         /s/Susan O. Hickey
                                                       Susan O. Hickey
                                                       United States District Judge




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